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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

     CHRISTINE BRYANT on behalf of herself             )
     and all other persons similarly situated, known   )
     and unknown,                                      )
                                                       )
                  Plaintiff,                           )     Case No. 1:19-cv-06622
                                                       )
           vs.                                         )     Honorable Virginia M. Kendall
                                                       )
     COMPASS GROUP USA, INC. and 365                   )
     RETAIL MARKETS, LLC,                              )
                                                       )
                  Defendants.

            PLAINTIFF’S UNOPPOSED MOTION TO COMPEL NON-PARTIES’
                           RESPONSES TO SUBPOENAS

          Plaintiff Christine Bryant, by and through the undersigned counsel, hereby submits the

Motion to Compel Non-Parties’ Responses to Subpoenas and states as follows.

I.        Introduction & Background

          This lawsuit involves class action claims under the Illinois Biometric Information Privacy

Act, 740 ILCS 14 et seq. (“BIPA”). In the operative Complaint, Plaintiff alleges Defendants

Compass Group USA, Inc. and 365 Retail Markets, LLC collected fingerprint data from Illinois

residents through biometric vending systems without following BIPA’s written disclosure and

consent requirements.

          On November 2, 2021, the Court preliminarily approved the proposed class action

settlement. See ECF No. 90, Preliminary Approval Order. The proposed settlement class includes

all individuals who scanned their finger(s) in one or more of Defendants’ vending systems in

Illinois between August 23, 2014 and November 2, 2021, without first executing a written consent.

Id.


                                                   1
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          Because Defendants do not have full contact information for settlement class members who

may have enabled finger-scanning at one of Defendants’ Illinois vending systems without first

providing written consent, the Settlement Agreement provides that Settlement Class Counsel1 may

issue subpoenas to Defendants’ Customers for Settlement Class Members’ contact information to

provide them notice of their rights in the Settlement. See ECF No 87-1, Settlement Agreement, ¶

III.13.

          Of the twelve (12) Customers that are subject of the instant Motion, the Settlement

Administrator served on November 24 and December 7, 2021, via certified U.S. First Class Mail,

subpoenas issued from this District to Defendants’ Customers requesting Settlement Class

Members’ email addresses, mailing addresses, and cell phone numbers. See ECF No. 90,

Preliminary Approval Order ¶ 9 (stating where reasonably possible mail, text message, email, and

Facebook the best practicable means of providing notice under the circumstances); Declaration of

Bernard K. Schott (“Schott Decl.”) ¶¶ 3-14, Served Subpoenas, at Exs. A-1 to L-1, Proofs of

Service at 4. Settlement Class Counsel provided Defendants’ Customers a twenty-one day

deadline, December 15 and December 28, 2021, respectively, to comply with or otherwise respond

to the subpoenas. Id. at Exs. A-1 to L-1, Compliance Date at 3. The subpoenas directed

Defendants’ Customers to provide the requested documents/contact information by email or

through a secure upload link to Settlement Class Counsel, or through the Customer’s desired secure

upload link.2 Id. at Exs. A-1 to L-1, Subpoena Rider at pp. 6-7.



1
    Capitalized terms herein shall have the same meaning as in the Settlement Agreement.

2
  The subpoena further directed Defendants’ Customers to produce physical documents by mail (or in
person) to Settlement Class Counsel’s office in Chicago, Illinois, only if they were unable to produce them
electronically. Exs. A-1 to L-1, Subpoena Rider at 7, ¶ 2.
                                                     2
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        Of the twelve (12) Customers that are subject of the instant Motion, Settlement Class

Counsel received either an executed return receipt from the Customer’s registered agent in Illinois

acknowledging delivery of the subpoena, or verification from USPS that the subpoena was

delivered to the Customer’s registered agent.3 See Schott Decl. ¶¶ 3-14, Exs. A-2 to L-2. Having

received no production or communication from the Customers after the compliance deadlines,

Settlement Class Counsel sent the Customers conferral letters on December 23, 2021 (for the

subpoenas served November 24) and January 11, 2022 (for the subpoenas served December 7).

Schott Decl. ¶¶ 3-14. In the conferral letters, Settlement Class Counsel informed the Customers

of the served subpoena and requested the organizations to produce the information or otherwise

confer with Settlement Class Counsel on a compliance date by year-end or January 20, 2022,

respectively.4 Schott Decl. ¶¶ 3-14, Exs. A-3 to L-3. Settlement Class Counsel sent the conferral

letters to the respective Customer’s registered agent. Id. Settlement Class Counsel additionally

sent the conferral letters, where mailing addresses could be obtained, to the respective Customer’s

location in Illinois and/or the Customer’s headquarters, directing the letters to the attention of the

Customer’s legal department. Id. ¶¶ 3-14, Exs. A-3 to L-3. The conferral letters mailed December

23 and January 11 informed the Customer that if it failed to respond, Settlement Class Counsel

would move for an order in this Court on January 3 or January 24, 2022, respectively, to compel

its compliance with the subpoena. Id. ¶¶ 3-14, Exs. A-3 to L-3.




3
 Schlage Company LLC’s registered agent was not served; defense counsel provided Settlement Class
Counsel the mailing address and individual contact to effect service to the company.
4
 In the conferral letter, Settlement Class Counsel acknowledged the conferral deadline fell within the
holiday period but informed the Customers that it was to facilitate timely administration of the Settlement.

                                                     3
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         To date, the twelve (12) Customers have not responded to the subpoena or the conferral

letter.5 The Final Approval Hearing for the settlement is scheduled August 3, 2022. See ECF No.

90, Preliminary Approval Order, at ¶ 16. To timely administer the settlement by the Final Approval

Hearing, the last date to distribute Notice to Settlement Class Members is approximately March 1,

2022. See ECF 87-7, Settlement Agreement, at ¶¶ 5.j.-n. (providing for, inter alia, 120-days for

claim forms, requests for exclusions, and objections to be postmarked or returned to the Settlement

Administrator).6 Accordingly, to properly inform Settlement Class Members of their rights in the

Settlement and to timely administer the Settlement, Plaintiff seeks an order from this Court

compelling the twelve (12) Customers to comply with the subpoena within ten days of the Court’s

prospective order.

II.      Argument

         Federal Rule of Civil Procedure 45 permits a party in a lawsuit to serve a non-party a

subpoena requiring, inter alia, the production of “documents, electronically stored information, or

tangible things in that person’s possession, custody, or control.” Fed. R. Civ. P. 45(a)(1)(A)(iii).

A motion to compel pursuant to Rule 37 is the appropriate vehicle to compel a non-party to provide

discovery in response to a Rule 45 subpoena. See Fed. R. Civ. P. 37(a)(1)-(2) (governing orders

compelling discovery from a “non-party”); Patterson v. Chiappa Firearms, USA, Ltd., 2021 WL

5447440, at *2 (D. Mont. Nov. 22, 2021). Toward that end, a motion for an order compelling

discovery from a non-party must be made in the court where compliance with the subpoena is




5 Overall, Settlement Class Counsel sent approximately fifty (50) conferral letters to Defendants’
Customers. Apart from the twelve (12) Customers referenced herein, virtually all the remaining Customers
have or will be producing the information sought in the subpoena.

6Settlement Class Counsel’s deadline to file the motion for final approval of the Settlement is July 27,
2022. See ECF 87-1, Settlement Agreement, at ¶¶ 5.n.

                                                   4
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required. Fed. R. Civ. P. 37(a)(2); In re Northfield Sec. Litig., 2012 WL 366852, at *8 (N.D. Ill.

Jan. 31, 2012) (explaining an order compelling a non-party to comply with a subpoena “must be

made in the court where the discovery is or will be taken”).7

        The settlement record reflects that Settlement Class Counsel properly served via First Class

certified mail Rule 45 subpoenas issued from this District to Defendants’ Customers. See Fed. R.

Civ. P. 45(b)(1); Ott v. City of Milwaukee, 682 F.3d 552, 557 (7th Cir. 2012) (holding delivery of

a subpoena via certified mail permissible manner of service under Rule 45); Schott Decl. ¶¶ 3-14,

Exs. A-1 to L-1. The settlement record further reflects that Settlement Class Counsel provided

Defendants’ Customers an extended twenty-one day deadline to comply with or otherwise respond

to the subpoena, one week longer than the fourteen-day period provided in Rule 45(d)(2)(B). Id.

¶¶ 3-14; Exs. A-1 to L-1, at p. 3. Having received no response from Defendants’ Customers to the

subpoenas, consistent with its obligations under Rule 37, Settlement Class Counsel sought to

confer in writing with those Customers, to which the Customers also did not respond. See Schott

Decl. ¶¶ 3-5, 8-14. Settlement Class Counsel otherwise properly seeks to enforce the subpoenas in

this District where compliance with the subpoenas is required.8



7
  Rule 45 provides that the non-party commanded to produce documents may serve written objections on
the requesting party before the earlier of the time specified for compliance or fourteen days. Fed. R. Civ. P.
45(d)(2)(B). Failure to serve written objections to a subpoena within the time specified by Rule 45
constitutes a waiver of all grounds for objection. Ott v. City of Milwaukee, 682 F.3d 552, 558 (7th Cir.
2012) (holding objections are waved if not made within time prescribed in Rule 45); F.T.C. v. Trudeau,
2013 WL 842599, at *3 (N.D. Ill. Mar. 6, 2013) (citing City of Milwaukee, 682 F.3d at 558).
8
  Rule 45, for example, limits a non-party’s deposition or trial attendance to 100 miles where the non-party
resides, is employed, or regularly transacts business. See Fed. R. Civ. P. 45(c)(1). This District is the proper
venue for enforcement because a person commanded to produce documents “need not appear in person at
the place of production or inspection” and therefore the 100-mile safeguard is immaterial. See Fed. R. Civ.
P. 45(c)(2)(A); Walker v. Ctr. for Food Safety, 667 F. Supp. 2d 133, 138 (D.D.C. 2009) (“[T]he 100-mile
limit applies to travel by a subpoenaed person, but a person commanded to produce documents ‘need not
appear in person at the place of production or inspection.’”) (quoting Fed. R. Civ. 45(c)(2)(A)); Gumwood
HP Shopping Partners, L.P. v. Simon Prop. Grp., 2014 WL 12780298, at *3 (N.D. Ind. Nov. 20, 2014)
(same); United States v. Brown, 223 F. Supp. 3d 697, 703 (N.D. Ohio 2016) (same); CresCom Bank v.
                                                       5
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       In these circumstances, courts throughout the country routinely order non-parties to comply

with a Rule 45 subpoena. See, e.g., Patterson, 2021 WL 5447440, at *2 (granting motion to compel

non-party to comply with Rule 45 subpoena after subpoenaed party failed to respond); On Demand

Direct Response, LLC v. McCart-Pollak, 2019 WL 356797, at *1 (D. Nev. Jan. 29, 2019) (same);

Am. Builders & Contractors Supply Co. v. Great Am. Ins. Co., 2012 WL 12910657, at *1 (M.D.

Fla. June 26, 2012) (same). Accordingly, to properly apprise the Settlement Class Members of

their rights in the Settlement and to timely administer the Settlement in compliance with the

deadlines in the Court’s Preliminary Approval Order, an order compelling the respective

Customers to comply with the subpoena is warranted.

III.   Conclusion

       For the foregoing reasons, the Court should grant Plaintiff’s instant Motion. Settlement

Class Counsel respectfully requests the Court enter an Omnibus Order compelling the following

entities to comply with the subpoena within 10 days from the date of the prospective order: (i)

P&P Industries, Inc.; (ii) HGS USA LLC; (iii) Residential Home Health Illinois, LLC; (iv) Savino

Del Bene USA, Inc.; (v) Sperry Equities LLC; (vi) The American Bottling Company; (vii) Whelan

Security Company; (viii) Woodstock Sterile Solutions, Inc.; (ix) Bretford Manufacturing, Inc.; (x)

Grupo Antolin Illinois, Inc.; (xi) Staff Management Solutions LLC; (xii) Schlage Lock Company

LLC.




Terry, 269 F. Supp. 3d 708, 713 (D.S.C. 2017) (same); Elsom v. Global Life & Accident Ins. Co., 2018 WL
4092020, *2 (D. Or. 2018) (same).


                                                  6
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                                   Certificate of Conferral

       In compliance with Local Rule 37.2, Settlement Class Counsel sought to consult in writing

with the non-parties/Defendants’ Customers subject to this Motion, but such attempts to consult

were unsuccessful due to no fault of Settlement Class Counsel. Settlement Class Counsel conferred

with Defendants in writing on January 27, 2022, and they do not oppose the relief sought in the

Motion.




Dated: January 27, 2022                             Respectfully submitted,
                                                    /s/ Bernard K. Schott
                                                    One of Plaintiff’s Attorneys

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                                                    Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that a true and correct copy of the foregoing

 was served via ECM/CF filing system on January 27, 2022 to all counsel of record. A copy of

  this Motion and the Notice of Motion will be served via Regular U.S. Mail on the non-parties

                     subject to this Motion. Please see Service List Below:



SERVICE LIST
Bretford Manufacturing, Inc.
c/o Reg. Agent, Christopher Petrick
11000 Seymour Ave
Franklin Park, IL 60131

Grupo Antolin Illinois, Inc.
c/o Reg. Agent, Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703

Grupo Antolin Illinois, Inc.
Attn: Legal Department
18355 Enterprise Ave
Nashville, IL 62263

Grupo Antolin-Illinois, Inc.
Attn: Legal Department
642 Crystal Pkwy
Belvidere, IL 61008

HGS (USA), LLC
c/o Reg. Agent, Cogency Global Inc.
600 S. 2nd St., Suite 404
Springfield, IL 62704

HGS (USA), LLC
c/o Legal Department
1901 East War Memorial Drive
Peoria, IL 61614


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P & P Industries, Inc.
c/o Reg. Agent, Warren D. Pruis
2100 Enterprise Dr
Sterling, IL 61081


Residential Home Health Illinois, LLC
c/o Reg. Agent, Cogency Global Inc.
600 South Second St, Suite 404
Springfield, IL 62704

Savino Del Bene U.S.A., Inc.
c/o Reg. Agent, United Corporate Services, Inc.
901 S 2nd St, Ste 201
Springfield, IL 62704

Schlage Lock Company LLC
c/o Randall Hubbell
121 W. Railroad Avenue
Princeton, IL 61356

Sperry Equities, LLC
c/o Reg. Agent, Burton Young
18881 Von Karman, Ste 800
Irvine, CA 92612

Staff Management Solutions, LLC
c/o Reg. Agent, Illinois Corporation Service Co.
801 Adlai Stevenson Dr.
Springfield, IL 62703

Staff Mangement Solutions, LLC
c/o Legal Department
860 W. Evergreen Ave. 1st
Chicago, IL 60642

Staff Management Solutions, LLC
c/o Legal Department
433 W. Van Buren St., Suite 400S-1,2
Chicago, IL 60607




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The American Bottling Company
c/o Reg. Agent, C T Corporation System
208 S LaSalle St, Suite 814
Chicago, IL 60604

Whelan Security Co.
c/o Reg. Agent, C T Corporation System
208 S LaSalle St, Suite 814
Chicago, IL 60604

Woodstock Sterile Solutions, Inc.
c/o Reg. Agent, C T Corporation System
208 S LaSalle St, Suite 814
Chicago, IL 60604



                                              s/Bernard K. Schott
                                              One of the Attorneys for Plaintiff and the
                                              Settlement Class




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